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"` '-.) /" r ¢_/ n
UNITED STATES DISTRICT COURT ""~7'; "“'
WESTERN DISTRICT OF TENNESSEE `
EASTERN DIVISION '
MILTON SMITH, )
)
Plaintiff, )
)
vs. ) Civil Action No.: ]:03-1233- B/P
)
CORRECTIONS CORPORATlON )
OF AMERJCA, et al., )
)
Defendauts. )

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

lT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Arnerica, Doctor Crants, Prison Realty Trust, Inc., Correctional
Managernent Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, AD.]UDGED AND DECREED that costs of this cause,
including filing fees, Will be paid by Plaintit`f and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

Tnis document entered on the docket sheet in compliance

With Flute 58 and,'or 79 (a) FFlCP Or't ._:l_!,,(D__lQ§_,

Case 1:03-cV-01233-.]DB-tmp Document 36 Filed 07/01/05 Page 2 of 4 Page|D 74

,_d»
Dared:this. / day of ,2005.

/a

J. DAN'IEL BREEN
NIT sTATEs I)ISTRICT JUDGE

 

 

APPROVED FOR ENTRY:

 

 

JAMES I. PENTECOST v\‘/’A`§NE a. RITCHIE, Ii’
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150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

Case 1:03-cV-01233-.]DB-tmp Document 36 Filed 07/01/05 Page 3 of 4 Page|D 75

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxvi]le, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on Junez§_, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: Ci/Z/MW @%Z§/W

J ames I. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case l:03-CV-01233 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

